                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:05CR9-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                 ORDER
                                    )
SHONIKA ECKLES,                     )
             Defendant.             )
___________________________________ )

       THIS MATTER is before the Court on miscellaneous pro se letters and motions filed by

Defendant Shonika Eckles. (Documents ##1349, 1361, 1365 and 1369)

       On March 13, 2006, following a jury trial, Defendant was convicted of conspiracy to possess

with intent to distribute quantities of cocaine, cocaine base, and marijuana in violation of 21 U.S.C.

§§ 846 and 841(a)(1), and two substantive offenses, namely, possession with intent to distribute

quantities of crack cocaine and cocaine powder, in violation of 21 U.S.C. §841(a)(1). Defendant was

sentenced to a total term of 262 months imprisonment. Judgment was entered on March 2, 2007.

(Documents ##703, 704)

       Defendant exercised her right to direct appeal, which resulted in her case being affirmed in

part, vacated in part, and remanded on July 24, 2009 for resentencing pursuant to Kimbrough v.

United States, 552 U.S. 85 (2007). (Document #1240 / COA #: 07-4244)

       Defendant was resentenced on November 2, 2009. Judgment was amended to reflect a total

sentence of 188 months imprisonment, with all other conditions remaining the same. (Document

#1272) No appeal was taken.




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         A. Motion For Transcripts At Government Expense

         Defendant requests copies of certain documents and transcripts of certain hearings [i.e.,

closing arguments made at trial in 2006; 2009 resentencing hearing] for the purpose of preparing a

Motion to Vacate, Set Aside or Correct Sentence under Title 28, United States Code, Section 2255.

         Transcripts are provided to indigent prisoners in proceedings brought under § 2255 “. . . if

the trial judge or circuit judge certifies that the suit or appeal is not frivolous and that the transcript

is needed to decide the issue presented by the suit or appeal.” 28 U.S.C. §753(f) (2011). Courts will

not provide transcripts to indigent prisoners merely so that they may "comb the record in the hope

of discovering some flaw." Jones v. Superintendent, Va. State Farm, 460 F.2d 150, 152 (4th Cir.

1972).

         A review of Petitioner’s basis for requesting the transcript does not allow the Court to

conclude that the request is not frivolous. Rather, the only suggested purpose for a §2255 petition

is to allege generally that Counsel James Edward Quander, Jr. (“Quander”) provided ineffective

assistance either during trial or at resentencing.1 (Document #1349). Significantly, Quander

preserved the Kimbrough issue (i.e., crack-to-powder cocaine sentencing disparity) that ultimately

lead to her resentencing despite submission of an Anders brief on appeal. See Anders v. California,

386 U.S. 738 (1967). Likewise, Petitioner fails to explain what she hopes to accomplish by

obtaining a transcript of the closing arguments at trial.2 Consequently, Petitioner’s request for

transcripts will be denied at this time. If Petitioner has more specific issues she intends to present


         1
           Quander, initially retained by Eckles for purposes of trial, did not represent Eckles on direct
appeal following conviction. Attorney Richard A. Culler was designated appellate counsel. Quander,
having earlier been converted to CJA Attorney status, was later appointed for resentencing.
         2
             As noted, supra, Eckles’ conviction was affirmed by the Fourth Circuit Court of Appeals.

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in petition, she should bring them to the attention to the Court in her § 2255 motion. The Court will

then decide if a transcript is necessary to decide the issues before it. See United States v.

MacCollom, 426 U.S. 317 (1976).

         B. Motion For Extension Of Time To File Section 2255

         It is well established that the statute of limitations on proceedings brought under Title 28,

United States Code, Section 2255 is one year from the date on which the judgment of conviction

becomes final. See 28 U.S.C.§ 2255; United States v. Thomas, 627 F.3d 534, 535(4th Cir.2010) .

         Here, following resentencing pursuant to Kimbrough, Amended Judgment was entered on

November 9, 2009. (Document #1272) Defendant first inquired about a potential §2255 and

transcripts for that purpose in July 2010, well before her one-year statute of limitations had expired.

(Document #1349) Eckles, acting pro se, indicated in her first such letter request (addressed to the

Court Reporter) that her deadline for filing a Rule 2255 motion was November 1, 2010.

         On October 27, 2010, Eckles submitted a second request for transcripts in the form of a

traditional motion. (Document #1361) The October 2010 filing expressly moved for a continuance

of the one-year statute of limitations governing the filing of a motion 28 U.S.C. §2255. Defendant’s

most recent motion was filed March 7, 2011.3 (Document #1369) Defendant’s March 2011 filing

also expressly requests a continuance of the one-year statute of limitations for seeking relief under

§2255.



         3
             In her latest motion, Defendant plainly states:

                 “The reason Defendant Eckles requests extra time is because today’s date is
         February 28, 2011. Defendant Eckles has not yet received a ruling as to whether or not
         she will be granted her request for the record of her sentencing hearing and closing
         arguments of trial.”

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        The Court hereby construes Defendant’s previous filings – all received by the Court in

advance of expiration of the one-year limitations period (November 9, 2010) – as a Motion to

Vacate, Set Aside or Correct Sentence. Thus, Defendant Eckles’ Section 2255 Motion is deemed

timely. Defendant Eckles will have through Friday, July 1, 2011 to supplement her motion and

articulate the specific bases for the instant collateral attack of her sentence. At that time, the Court

will review her request for production of transcripts at government expense.

        C. Motion Pursuant To 18 U.S.C. §3582

        In June 2008, prior to her resentencing, Defendant, acting pro se, sought retroactive relief

pursuant to 18 U.S.C. §3582 and Amendment 706 of the United States Guidelines. (Document

#987) The §3582 motion was outstanding for a period of time awaiting a Government response.

In light of Defendant’s resentencing pursuant to Kimbrough, the §3582 Motion is rendered moot and

will be denied as such.4

        D. Order

        IT IS, THEREFORE, ORDERED THAT:

        1) Defendant’s documents mailed, received, or filed on or before November 2010 are

        collectively construed as a Motion To Vacate, Set Aside or Correct Sentence pursuant to 28

        U.S.C. §2255;

        2) Defendant will have through Friday, July 1, 2011 to supplement her motion and

        articulate the specific legal bases for her §2255 and the Deputy Clerk shall open a new civil


        4
           Relief pursuant to Amendment 706 would have only permitted a two-level reduction from
Base Offense Level 38 to Base Offense Level 36 for a total sentence of 210 months as opposed to the
original 262 months. Defendant received a lower sentence than that upon remand consistent with United
States v. Booker,125 S.Ct. 738 (2005), 18 U.S.C. §3553(a) and Kimbrough.

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   action on behalf of Petitioner Eckles for this purpose;

   3) Defendant's Motion for Transcripts at Government Expense is hereby DENIED without

   prejudice; and

   4) Defendant’s Motion for Relief pursuant to 18 U.S.C. §3582(c)(2) is denied as moot.




                                            Signed: May 10, 2011




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